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DEMETRAS LAW

J. Craig Demetras

Nevada Bar. No. 4246

230 E. Liberty Street

Reno, NV 89501
(Telephone): 775-348-4600
jced@demetraslaw.com
mail@demetraslaw.com

Attorney for Debtor

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
IN RE BK-N-23-50950-HLB
PHILIP ANDREW MACKEN, Chapter 13
Debtor NOTICE OF ENTRY OF AMENDED

SCHEDULING ORDER

PLEASE TAKE NOTICE that an Amended Scheduling Order was entered by the
above-entitled Court on May 16, 2025, a copy of which is attached hereto and
incorporated herein as Exhibit “A.”

DATED this 16" day of May, 2025.
DEMETRAS LAW
/s/ J. Craig Demetras

By: J. Craig Demetras
Attorney for Debtor

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EXHIBIT “A”

EXHIBIT “A”

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2 Honorable Hilary L. Barnes
3 United States Bankruptcy Judge
Entered on Docket
4 May 16, 2025
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6
i UNITED STATES BANKRUPTCY COURT
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DISTRICT OF NEVADA
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10 ||TIN RE BK-N-23-50950-HLB
"1 PHILIP ANDREW MACKEN, Chapter 13
12
Debtor AMENDED SCHEDULING ORDER
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17 A Joint Ex Parte Application Approving Stipulation Regarding Proposed
18
Amendment to Scheduling Order and Pending Discovery re Debtor’s Objection to
19
20 Claim 9 [Doc. 73] having been filed on May 14, 2025 [Doc. 181], and an Order
21 || Approving the Stipulation being entered on May 15, 2025 [Doc. 182]; the Court
22 having considered all pleadings and papers on file herein; and good cause appearing;
23
IT IS HEREBY ORDERED that the:
24 .
1. Deadline for the United States to serve its response to written discovery:
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June 13, 2025.
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2. RA Hamilton’s Deposition in Reno, Nevada is continued from May 20,
2025, to an undetermined date at this time.

3. Deadline for initial Expert Disclosures: August 8, 2025. Disclosures
shall include all discoverable reports, opinions, and writings by the
expert.

4. Deadline for Rebuttal Expert Disclosures: September 30, 2025.
Disclosures shall include all discoverable reports, opinions, and writings
by the expert.

5. Close of Discovery including all expert discovery: November 10, 2025.

6. Deadline to file dispositive motions: December 9, 2025.

7. Mandatory Settlement Conference set for July 17, 2025 before Judge
Jaime is vacated.

Submitted by:

DEMETRAS LAW UNITED STATES

/s/ J. Craig Demetras /s/ Patrick R. Burnett

By: J. Craig Demetras By: Patrick R. Burnett

Attorney for Debtor Trial Attorney, Tax Division

230 E. Liberty Street U.S. Department of Justice

Reno, NV 89501 P. O. Box 683

Counsel for the Debtor Washington, D.C. 20044
Counsel for the United States

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